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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division


   UNITED STATES OF AMERICA,

                       v.
                                                       Criminal No. 4:12cr111
   MARCELLUS EDWARD CHEATHAM,
   III,

                        Defendant.


                                        ORDER

        Before the Court is a Motion for Compassionate Release by Defendant

  Marcellus Edward Cheatham, III (ECF No. 144) and a related Pro Se Motion for

  Compassionate Release (ECF No. 137). For the following reasons, Defendant’s Pro Se

  Motion is DISMISSED as moot, and the Motion for Compassionate Release is

  DENIED.

  I.    BACKGROUND

        On December March 14, 2013, Mr. Cheatham pleaded guilty to two counts

  related to robbery and drugs, without the benefit of a written plea agreement. Minute

  Entry, ECF No. 47. He was found guilty by a jury of two additional counts related to

  the same. Jury Verdict, ECF No. 55. He pleaded guilty to Counts One and Five.

  Minute Entry, ECF No. 47. Count One charged him with Interference with Commerce

  by Robbery, in violation of 18 U.S.C.§ 1951(a) and Count Five charged him with

  Possession with Intent to Distribute Schedule II Controlled Substance, in violation of

  21 U.S.C. § 841(a)(1) and (b)(1)(C). Presentence Investigation Report (“PSR”) at 2,

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  ECF No. 139. A jury found him guilty of Counts Two and Four. Jury Verdict, ECF

  No. 55. Count Two charged him with Brandishing a Firearm During a Crime of

  Violence, in violation of 18 U.S.C. § 924(c)(1)(A) and Count Four charged him with

  Felon in Possession of Ammunition, in violation of 18 U.S.C. § 922(g)(1). Id.

        On August 21, 2012, Mr. Cheatham entered into a Walgreens in Hampton

  Virginia to rob a pharmacist. Statement of Facts at 1, ECF No. 49. He gave the

  pharmacist a note that stated, “Give Me All The Percocet/Oxycodone or I will Shoot –

  Don’t Try me.” Id. He stole approximately 2036 oxycodone pills of various doses. Id.

  Following the robbery, Mr. Cheatham texted many individuals advertising the pills

  as for sale. Id. at 4. In total, Mr. Cheatham was attributed a total converted drug

  weight of 162.9522 kilograms. PSR at 32, ECF No. 139.

        Mr. Cheatham was sentenced by Judge Morgan on January 31, 2014.

  Judgment, ECF No. 72. He was sentenced to a total of 235 months’ imprisonment. Id.

  This consisted of 151 months on Count One, 84 months on Count Two to be served

  consecutively, a term of 120 months on Count Four to be served concurrently with

  Count One and Count Two, and 151 months on Count Five, to be served concurrently

  with Count One and Count Two. Id. He was also sentenced to a total of five years of




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  supervised release. Id. This consisted of five years on Count Two and three years on

  Count One, Count Four, and Count Five all to run concurrently. Id.

        Mr. Cheatham now moves under 18 U.S.C. § 3582(c) for compassionate release

  due to the COVID-19 pandemic. 1 Mot. for Release, ECF No. 144. The Court appointed

  counsel to represent Mr. Cheatham on his Motion. Order, ECF No. 138. Counsel

  argues that the COVID-19 pandemic in combination with Mr. Cheatham’s

  incarceration conditions, age (he is 35 years old), and health condition of asthma

  present extraordinary and compelling reasons for compassionate release. Mot. for

  Release at 5–10, ECF No. 144. He also argues that compassionate release is

  appropriate to avoid unwarranted sentencing disparities. Id. at 14–16. He argues

  that his guidelines range would have been lower if he was sentenced today because

  his offense level would be reduced by two levels. Id. He urges that if he were sentenced

  today, his guidelines range would have been 121 to 151 months, and he likely would

  have received 121 months not 151 months. Id. at 15. Furthermore, he points out that

  he was not granted a two-point reduction for acceptance of responsibility even though

  he pleaded guilty to two counts of the indictment. Id. Lastly, he states that new law

  now allows courts to factor into account the mandatory minimum under 18 U.S.C. §

  924(c) when fashioning a sentence, such that a district court sentencing Mr.




  1 Because the Court appointed counsel to represent Mr. Cheatham, and appointed
  counsel has filed a formal Motion to Compassionate Release on his behalf, Mr.
  Cheatham’s pro se Motion is dismissed as moot.
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  Cheatham today would be able to consider imposing a lesser sentence on other counts

  because of the mandatory minimum. Id.

        The Court ordered the Government and the United States Probation Office to

  advise the Court of their positions on Mr. Cheatham’s Motion. Both oppose the

  Motion. PO Recommendation, ECF No. 146; Resp. in Opp’n, ECF No. 147. The Motion

  is fully briefed and now ripe for a decision.

  II.   LEGAL STANDARDS

        Section 18 U.S.C. § 3582(c)(1)(A) provides that a court may reduce a term of

  imprisonment after it has been imposed “upon motion of the defendant after the

  defendant has fully exhausted all administrative rights to appeal a failure of the

  Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days

  from the receipt of such a request by the warden of the defendant’s facility, whichever

  is earlier.” 18 U.S.C. § 3582(c)(1)(A) (Westlaw through Pub. L. No. 117-30 (excluding

  Pub. L. No. 116-283)).

        The United States Court of Appeals for the Fourth Circuit has yet to evaluate

  the precise impact of this precondition. See United States v. Kibble, 992 F.3d 326, 330

  & n.2 (4th Cir. 2021) (noting that “[c]ourts are split over the question of whether, and

  under what circumstances, a court may waive § 3582(c)(1)(A)’s exhaustion

  requirement” but declining to reach the issue where it was “undisputed that Mr.

  Kibble exhausted his administrative remedies”).

        But other federal Courts of Appeals have ruled that satisfying one of the

  requirements of § 3582(c)(1)(A) is a mandatory claim-processing rule. E.g., United



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  States v. Alam, 960 F.3d 831, 833–34 (6th Cir. 2020) (holding that although

  “exhaustion requirement does not implicate [a court’s] subject-matter jurisdiction,”

  statute provides that prisoner may bring motion only after fully exhausting

  administrative rights to appeal with prison or “waiting 30 days after his first request

  to the prison”); see also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (finding

  petitioner’s failure “to comply with § 3582(c)(1)(A)’s exhaustion requirement” to be

  “roadblock foreclosing compassionate release at this point”).

        “When ‘properly invoked,’ mandatory claim-processing rules ‘must be

  enforced.’” Alam, 960 F.3d at 834 (quoting Hamer v. Neighborhood Hous. Servs. of

  Chicago, 138 S. Ct. 13, 17 (2017)). “Because ‘Congress sets the rules’ when it comes

  to statutory exhaustion requirements, the judiciary has a role to play in exception-

  crafting ‘only if Congress wants [it] to.’ Nothing in § 3582(c)(1)(A) suggests the

  possibility of judge-made exceptions.” Id. at *3 (quoting Ross v. Blake, 136 S. Ct. 1850,

  1857 (2016)). Therefore, the 30-day waiting period is mandatory unless the

  Government waives or forfeits the requirement. Id. (“[M]andatory claim-processing

  rules bind the courts only when properly asserted and not forfeited.”).

        If a motion satisfies the statutory precondition, a court may reduce the

  inmate’s sentence if the Court finds that “extraordinary and compelling reasons

  warrant such a reduction” and concludes “that such a reduction is consistent with

  applicable policy statements issued by the Sentencing Commission.” § 3582(c)(1)(A).

  The Fourth Circuit has ruled recently that there are no applicable policy statements

  for the Court to consider in defining extraordinary and compelling reasons; it is



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  within the Court’s discretion to assess whether extraordinary and compelling reasons

  exist. 2 United States v. McCoy, 981 F.3d 271, 281 (4th Cir. 2020).

        In doing so, a court may consider the length of a defendant’s sentence,

  including the disparity between the sentence that a defendant originally received and

  the sentence that he would receive today. Id. at 285; see also United States v.

  Hardnett, No. 3:03-cr-212, 2020 WL 5074023, at *7 (E.D. Va. Aug. 27, 2020) (“District

  courts within the jurisdiction of the Fourth Circuit have considered the length of time

  served an important factor when ruling on motions for compassionate release during

  the COVID-19 pandemic.”). Where a court finds that the disparity between the

  defendant’s original sentence and the sentence that he would receive today is so

  significant that it may be considered an “extreme and compelling circumstance,” it is

  empowered to reduce his sentence retroactively. Id. at 286; see United States v.

  Vaughn, No. 5:08-cr-00266, 2021 WL 136172, at *3 (S.D.W. Va. Jan. 13, 2021).

        Courts should also consider the sentencing factors under 18 U.S.C. § 3553(a)

  before granting a motion for compassionate release. Kibble, 992 F.3d at 330. Even if

  a court “finds that a defendant has demonstrated extraordinary and compelling

  reasons [for a reduction in sentence], it is still not required to grant the defendant’s

  motion for a sentence reduction.” High, 997 F.3d at 186. A “court may deny a motion

  for compassionate release if the § 3553(a) factors override what would otherwise be

  extraordinary and compelling circumstances” meriting compassionate release. Easter




  2Nevertheless, it is appropriate for the Court to look to USSG § 1B1.13 for guidance.
  United States v. High, 997 F.3d 181, 186 (4th Cir. 2021).
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  v. United States, No. 4:16-cr-49-7, 2020 WL 3315993, at *4 (E.D. Va. June 18, 2020)

  (citing United States v. Doumas, No. 13-cr-120, 2020 WL 3256734, at *2 (E.D.N.Y.

  June 16, 2020)); see also Kibble, 992 F.3d at 330–32.

  III.   APPLICATION

         A.    Statutory Precondition

         Mr. Cheatham has satisfied the mandatory statutory prerequisite for

  consideration of his Motion. He submitted a request for compassionate release to the

  Warden of Pollock FCI on June 22, 2021, and the request was denied on July 9, 2021.

  Ex. A to Mot. for Release, ECF No. 144-1. The Government agrees. Resp. in Opp’n at

  8–9, ECF No. 147. Accordingly, the precondition is met, and the Court proceeds with

  considering the merits of Mr. Cheatham’s request.

         B.    Extraordinary and Compelling Reasons

         To reduce an inmate’s term of imprisonment, the Court must find that

  extraordinary and compelling reasons exist for a reduction in sentence. “[A]n inmate

  might well be able to present an extraordinary and compelling reason for release

  based on COVID-19.” High, 997 F.3d at 185. “An inmate’s serious medical condition

  can be the basis for such a finding, and COVID-19 raises medical issues in the prison

  context that are particularly serious—it is highly communicable; it is aggravated by

  certain other medical conditions; and it can be lethal.” Id.

         “[C]ompassionate release motions amid the COVID-19 pandemic have

  required a ‘fact-intensive’ inquiry, made in the ‘unique circumstances’ and ‘context’

  of each individual defendant. . . . [C]ourts . . . have considered (1) the age of the



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  prisoner; (2) the severity and documented history of the defendant’s health

  conditions, as well as the defendant’s history of managing those conditions in prison;

  (3) the proliferation and status of infections in the prison facility; [and] (4) the

  proportion of the term of incarceration that has been served by the prisoner . . . .”

  United States v. Brady, No. 18-cr-316, 2020 WL 2512100, at *3 (S.D.N.Y. May 15,

  2020) (citations omitted). After considering these factors, the Court finds that Mr.

  Cheatham has not presented “extraordinary and compelling” reasons for a sentence

  reduction. 18 U.S.C. § 3582(c)(1)(A)(i).

        Mr. Cheatham’s age weighs against finding that “extraordinary and

  compelling” reasons exist for a sentence reduction. Mr. Cheatham is 35 years old.

  PSR at 3, ECF No. 139. He belongs to an age category that is not at increased risk of

  severe illness from COVID-19. See Ctrs. for Disease Control and Prevention (“CDC”),

  Deaths involving coronavirus disease 2019 (COVID-19), pneumonia, and influenza

  reported to NCHS by time-period, jurisdiction of occurrence, sex, and age-group,

  https://www.cdc.gov/nchs/nvss/vsrr/covid_weekly/ (last updated Nov. 17, 2021) (last

  visited Nov. 23, 2021) (noting that increase in risk begins around 40 to 49 age

  category and drastically increases around 50 to 64 age category).

        Mr. Cheatham’s health conditions slightly weigh in favor of finding that his

  circumstances are “extraordinary and compelling.” The CDC has published a list of

  health conditions that increase a person’s risk of severe illness from COVID-19. CDC,

  People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-

  ncov/need-extra-precautions/people-with-medical-conditions.html (last updated Oct.



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  14, 2021) (last visited Nov. 23, 2021). According to the CDC, those with moderate to

  severe asthma are potentially at increased risk of severe illness. Id. In requesting

  compassionate release, Mr. Cheatham states that he has asthma and has suffered

  through two asthma attacks in the past decade. Mot. for Release at 9, ECF No. 144.

  However, his medical records do not diagnose his asthma as either moderate or

  severe. Sealed Medical R., ECF No. 145. This compels the Court to conclude that he

  only may be at an increased risk.

        Even so, Mr. Cheatham fails to establish “extraordinary and compelling”

  circumstances. He was offered the COVID-19 Pfizer-BioNTech vaccine on April 9,

  2021. Ex. C to Resp. in Opp’n, ECF No. 147; PO Recommendation at 2, ECF No. 146.

  He refused. Id. This is a significant factor in deciding whether to grant or deny

  release. 3 Refusal of the vaccine undermines any extraordinary or compelling reasons

  that may exist for release. See United States v. Ervin, No. 3:14cr195, 2021 WL 848690,

  at *3 (M.D. Tenn. Mar. 5, 2021) (collecting cases). Courts “have noted that refusal to

  be vaccinated substantially diminishes arguments predicated on the risk presented




  3 Defendant argues that his refusal of the vaccine does not foreclose compassionate
  release. Mot. for Release at 11–14, ECF No. 144. He avers that he did not have the
  requisite information to decide whether he was allergic to the vaccine, was unable to
  make a decision about the vaccine because many health-care workers were refusing
  the vaccine and bureau of prisons employees were refusing the vaccine as well, and
  that the vaccine “is not a panacea.” Id. at 14.
         While this Court recognizes that Defendant may have difficulty in discerning
  whether he is allergic, the effectiveness of the COVID-19 vaccine against the original
  strain and currently known variants of the virus cannot be reasonably disputed.
  See, e.g., CDC, COVID-19 Vaccines Work, https://www.cdc.gov/coronavirus/2019-
  ncov/vaccines/effectiveness/work.html (last updated Nov. 9, 2021) (describing and
  linking to studies and data confirming effectiveness of COVID-19 vaccines).
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  by COVID-19.” Id (citations omitted). Refusal to take the vaccine is a defendant’s

  unwillingness to “inoculate [himself or herself] against the same disease” which

  threatens a defendant’s life for which he or she is seeking immediate release. United

  States v. Zambrano, No. 18cr2002, 2021 WL 248592, at *5 (N.D. Iowa Jan. 25, 2021).

  “It would be paradoxical to endorse a system whereby a defendant could manufacture

  extraordinary and compelling circumstances for compassionate release by

  unreasonably refusing the health care afforded to them.” Id. Mere vaccine hesitancy,

  though it may be Mr. Cheatham’s right, is not an extraordinary and compelling

  circumstance. This strongly weighs against finding his circumstances extraordinary

  and compelling.

        Further, “[t]he proliferation and status of infections in the prison facility” in

  which Mr. Cheatham is currently housed also weigh against finding his

  circumstances as “extraordinary and compelling.” Brady, 2020 WL 2512100, at *3.

  Mr. Cheatham is housed at Pollock FCI. Bureau of Prisons (“BOP”) Inmate Locator,

  No. 34952-183, https://www.bop.gov/inmateloc (last visited Nov. 23, 2021). Currently,

  there are no positive cases among inmates, and there are no positive cases among

  staff. BOP, Full breakdown and additional details, https://www.bop.gov/coronavirus/

  (updated daily at 3:00 P.M.) (last visited Nov. 23, 2021).

        The rate of vaccine implementation in BOP facilities is an additional

  consideration at this stage in the pandemic. Currently, 2,105 inmates and 399 staff

  members at Pollock FCI have been fully inoculated against COVID-19. BOP, COVID-




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  19 Vaccine Implementation, https://www.bop.gov/coronavirus/ (updated daily at 3:00

  P.M.) (last visited Nov. 23, 2021).

        Mr. Cheatham has served a substantial portion of his sentence. Mr. Cheatham

  was sentenced to a total of 235 months’ incarceration followed by 5 years’ supervised

  release. Judgment, ECF No. 72. His projected release date is July 21, 2029. See BOP,

  Inmate Locator, No. 34952-183, https://www.bop.gov/inmateloc/ (last visited Oct. 29,

  2021). He has served approximately fifty-five percent of his sentence. This weighs in

  favor of finding that his circumstances are extraordinary and compelling.

        A court may consider the length of a defendant’s sentence and a disparity

  between the sentence a defendant received and what they would receive today to

  determine if “extraordinary and compelling” circumstances exist. McCoy, 981 F.3d at

  285. The Court can consider this as a relevant factor in the “individualized reviews

  of motions for compassionate release under § 3582(c)(1)(A)(i).” Id. at 826.

        The Court finds that potential disparity between Mr. Cheatham’s sentence and

  the sentence he would receive today does not amount to extraordinary and compelling

  reasons in this case for a reduction in sentence. If sentenced today, Mr. Cheatham

  would still be required to serve the statutorily specified seven-year to life sentence

  for Count Two as prescribed in 18 U.S.C. § 924(c). This would have to run

  consecutively to his sentence on the other Counts, for which the Guidelines

  sentencing range would be 121 to 151 months if Defendant’s argument was adopted.

  Mot. for Release at 15, ECF No. 144. This estimation also presumes that the Court

  would have only imposed the mandatory minimum of on the § 924(c) count.



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  Furthermore, Defendant’s assertion that the fact he was sentenced to the low end of

  the guidelines at time of sentencing means he would be sentenced to the low end of a

  new guidelines range (121 months) is not necessarily correct. Mot. for Release at 15,

  ECF No. 144. Courts have great discretion in determining sentencing, and Mr.

  Cheatham may have been sentenced to well above the mandatory minimum range or

  at the high-end of the guidelines range, particularly given the egregious facts of this

  case. Particularly taking this into account, any potential disparity is insufficient to

  find extraordinary and compelling reasons for compassionate release.

        The Court weighs these factors together. Mr. Cheatham has one condition that

  might place him at increased risk of severe illness from COVID-19. Nevertheless, he

  was offered and refused the COVID-19 vaccine. Mr. Cheatham’s sentence as it

  currently stands, and by itself, does not rise to the high bar to warrant release. Taken

  together, he has not presented extraordinary and compelling reasons for release

  based on the difference between the sentence he received and the sentence he would

  have received today, as a result of changes in the law.

        C.     Section 3553(a) Factors

        Even where a defendant presents extraordinary and compelling reasons for

  release, the Court must also consider whether release is consistent with the Section

  3553(a) factors. Under Section 3553(a) courts must consider:

               (1) the nature and circumstances of the offense and the history
               and characteristics of the defendant;
               (2) the need for the sentence imposed--
                      (A) to reflect the seriousness of the offense, to promote
               respect for the law, and to provide just punishment for the
               offense;

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                      (B) to afford adequate deterrence to criminal conduct;
                      (C) to protect the public from further crimes of the
               defendant; and
                      (D) to provide the defendant with needed educational or
               vocational training, medical care, or other correctional treatment
               in the most effective manner;
               (3) the kinds of sentences available;
               (4) the kinds of sentence and the sentencing range
               ...
               (6) the need to avoid unwarranted sentence disparities among
               defendants with similar records who have been found guilty of
               similar conduct; and
               (7) the need to provide restitution to any victims of the offense.

  18 U.S.C. § 3553(a). Considering these factors, even if extraordinary and compelling

  reasons were present, a sentence reduction would be unwarranted.

        The offenses for which Mr. Cheatham is currently incarcerated are very

  serious. He robbed a Walgreens to obtain Percocet and Oxycodone. PSR at 5, ECF No.

  139. He placed the pharmacist in fear of bodily harm and obtained over 2036 pills,

  which were later advertised via text to customers. Id. A reduction in sentence would

  result in insufficient punishment for these actions.

        There is also a need to ensure specific deterrence and protection of the public.

  First, Mr. Cheatham’s post-arrest conduct warranted an emphasis on specific

  deterrence. He directed a co-conspirator to delete pictures and text messages from

  the co-conspirators phone following his arrest. PO Recommendation at 1, ECF No.

  146. He provided false testimony during his trial. Id. Second, Mr. Cheatham was a

  criminal history category III when he was sentenced. Id. at 23. Mr. Cheatham has

  engaged in other crimes as well. Id. at 10–18. Many of these other crimes are of the

  same nature involving firearms, possession of Percocet, and prescription fraud. Id.



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  He committed the instant offense when he was 27 years old, suggesting that his risk

  of recidivism is a concern. Id. at 2.

         There is evidence suggesting Mr. Cheatham has rehabilitated. He has

  participated in extensive programming while incarcerated. Ex. H to Mot. for

  Compassionate Release, ECF No. 144-8. He has completed four drug classes and

  forty-two education classes. Id. This factor would weigh in favor of granting release.

  See Abdallah v. United States, No. 4:15cr18(3), 2020 WL 3039122, at *3 (E.D. Va.

  June 4, 2020) (granting compassionate release where petitioner “demonstrated

  rehabilitation, completing a wide range of courses”).

         Mr. Cheatham also has family support. If he were released, he would be able

  to reside with his mother in Chesterfield, Virginia. Mot. for Release at 21, ECF No.

  144; Def. Reply at 6 n.3, ECF No. 150. Defendant has included many character letters

  on his behalf to this Court illustrating community support. Letters, ECF Nos. 144-2–

  4; Letters, ECF Nos. 144-9–14. This fact typically weighs in favor of compassionate

  release. See Poulios v. United States, No. 2:09-CR-109, 2020 WL 1922775, at *3 (E.D.

  Va. Apr. 21, 2020) (granting compassionate release when the petitioner had “reliable

  family support to return to upon his release”).

         Weighing all the § 3553(a) factors together, however, Mr. Cheatham is not a

  candidate for a reduction in sentence. Although the measures he has taken to

  rehabilitate are commendable, as is the support he receives from family and the

  community, a reduction in sentence would inadequately reflect the seriousness of the

  offense, result in insufficient punishment and deterrence, and inadequately protect



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  the public. Thus, consideration of the § 3553(a) factors would preclude a reduction in

  sentence even if Mr. Cheatham had succeeded in demonstrating extraordinary and

  compelling reasons for a reduction.

  IV.     CONCLUSION

          For the foregoing reasons, Mr. Cheatham’s Motion for Compassionate release

  (ECF No. 144) is DENIED and his Pro Se Motion (ECF No. 137) is DISMISSED as

  moot.

          The Clerk is REQUESTED to forward a copy of this Order to Defendant

  Marcellus Edward Cheatham, III, his counsel, and the Assistant United States

  Attorney.

          IT IS SO ORDERED.


                                                               /s/
                                                      Arenda L. Wright Allen
                                                    United States District Judge
  November 23, 2021
  Norfolk, Virginia




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